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                        UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

GIORGIO PROUSE
Via Patroclo n. 19
Milan Italy,                                                    Case No.: 12-CV-644

                     Petitioner,
      and

ROBIN K. THORESON
1445 North State Parkway, #308
Chicago, Illinois 60610,

                     Respondent.


             RESPONDENT’S BRIEF IN OPPOSITION TO ORDER TO
                 SHOW CAUSE FOR PROVISIONAL RELIEF


   A. TO PREVAIL ON HIS MOTION FOR PROVISIONAL RELIEF,
      RESPONDENT MUST MEET THE REQUIREMENTS OF FED. R.
      CIV. P. 65 FOR A PRELIMINARY INJUNCTION.

      Petitioner’s request for the Respondent to “show cause why the parties’ daughter

should not be immediately returned to her home in Milan, Italy” should be interpreted as

a request for provisional relief under 42 U.S.C. §11604. Citing to Fed. R. Civ. P. 65, the

standard for a grant of provisional relief under the International Child Abduction

Remedies Act (ICARA) is succinctly set forth in an Eighth Circuit case:

      It is well-settled in this circuit that applications for preliminary injunctions
      and temporary restraining orders are generally measured against the
      standards set forth in the decision of the Eighth Circuit Court of Appeals in
      Dataphase Sys., Inc. v. CL Sys., Inc., 640 F.2d 109, 113 (8th Cir.1981) (en
      banc). See Branstad v. Glickman, 118 F.Supp.2d 925, 937 (N.D. Iowa
      2000); Uncle B's Bakery, Inc. v. O'Rourke, 920 F.Supp. 1405, 1411
      (N.D.Iowa 1996). These factors include (1) the movant's probability of
      success on the merits, (2) the threat of irreparable harm to the movant

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       absent the injunction, (3) the balance between the harm and the injury that
       the injunction's issuance would inflict on other interested parties, and (4)
       the public interest. Dataphase, 640 F.2d at 114; accord Branstad, 118
       F.Supp.2d at 937 (quoting similar factors from Entergy, Ark., Inc. v.
       Nebraska, 210 F.3d 887, 889 (8th Cir.2000)); Fed. R. Civ. P. 65(b)(1).

       Morgan v. Morgan, 289 F. Supp. 2d 1067, 1069 (N.D. Iowa 2003)

       While Respondent could not locate a similar case involving an alleged child

abduction in the Seventh Circuit, this Court has previously addressed the standard for the

issuance of provisional relief in the form of a temporary injunction under Rule 65 and

found the same test to apply. In JT Packard & Associates, Inc. v. Smith, 429 F. Supp. 2d

1052 (W.D. Wis. 2005) this court explained the requisite showing to entitle a party to

such relief.

       To obtain a preliminary injunction, plaintiff must prove that it has a
       likelihood of success on the merits, it is threatened with irreparable harm,
       the harm it would suffer if the injunction is not granted outweighs the harm
       to defendants if the injunction is granted, and the grant of an injunction
       would be in the public interest.

       Id. at 1054.

       The Petitioner makes only unsupported conclusory allegations in his Petition.

Nothing is alleged that shows any irreparable harm would ensue if the OTSC is denied

pending a full hearing on the merits. There is no allegation that the child is subject to

physical, mental or emotional abuse that would require her immediate uprooting from her

current residence, school, friends and family here in Wisconsin. Indeed the facts will

show that Respondent is the parent who has repeatedly attempted to keep communication

open between the petitioner and the minor child.



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          There are no facts or allegations warranting an immediate Order be entered for the

imminent return of this child based on a hearing held just six (6) working days after

service of the Petition on Respondent.        The Hague Convention itself at Article 11

provides for a decision to be reached within six (6) weeks of the commencement of the

action.     All authorities indicate that the question of “habitual residence” is “fact

intensive” and this Court must take the time necessary to allow it to make thorough

findings of fact.

          Additionally, 42 U.S.C. §11604(b) does not permit the removal of the child from

the Respondent unless applicable requirements of state law are satisfied. Petitioner has

not even attempted to make any such showing.

          Finally, the period of time afforded Respondent under Fed. R. Civ. P. 12(a)(1) to

file her answer and state her affirmative defenses has not yet elapsed. Entry of an

immediate order to return the child to her home in Italy would deprive the Respondent of

an opportunity to conduct discovery, develop her case and present it fully on the merits.

Orders issued under such circumstances have been upset in numerous instances. See, for

example, Commodity Futures Trading Commission v. Board of Trade of Chicago, 657

F.2d 124, 127 (7th Cir.1981). Such an immediate order in this case should be afforded an

enhanced level of disfavor given its putative impact on the Respondent’s constitutionally

protected liberty interest in her relationship with her daughter.




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   B. PETITIONER CANNOT SUCCEED ON THE MERITS OF HIS
      “PETITION FOR RETURN OF CHILD TO PETITIONER UNDER THE
      HAGUE CONVENTION ON CIVIL REMEDIES FOR INTERNATIONAL
      CHILD ABDUCTION”.

              1.     Background Facts

       The true facts in this case are vastly different than the unsworn and unsupported,

allegations set forth in the Petition as filed with this Court on September 5, 2012. The

facts will show that Petitioner (hereinafter “Giorgio”) and Respondent (hereinafter

“Robin”) made a mutual decision in the fall of 2011 to relocate to the United States.

Robin and the child were to move permanently to the United States in late December,

2011 Giorgio, in a residency as a vascular surgeon in Italy, was to join them permanently,

when his residency was completed.

       The Petitioner himself wrote to the minor child’s school, the International School

of Milan, and advised that she would not be attending the school after the 21st of

December 2011. The Petitioner himself contacted a real estate agent and the parties

listed their Milan home with that agent for rent or sale in November of 2011 and

subsequently signed a four-year lease on the home with a four-year option to extend

effective February 1, 2012.

       By mutual agreement, on December 28th, 2011, the Respondent and the minor

child (hereinafter “Julia”) flew to the United States with family pets and relocated their

“habitual residence”. Petitioner himself purchased the roundtrip tickets on Swiss Air

instead of utilizing Robin’s benefits on American Airlines to allow some of the family

pets to travel with Robin and Julia in the cabin to facilitate their move to their new home.


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The parties made the joint decision that the Julia would stay with her maternal

grandparents in Beloit, Wisconsin to attend school so that the Respondent could pick up

additional flights and work more to assist in solving the financial problems the family

was facing. Robin still owned the condo in Chicago she lived in prior to the marriage.

She “rented” it and shared it with her roommate as a home-base during her employment.

When she is not working, she spends all of her time with her daughter.

       After getting Julia settled in her new school, Townville Elementary in Beloit, the

Respondent flew back to Milan on January 7, 2012, and completed the packing and

cleaning of the prior marital residence. She stayed three or four days and utilized her

American Airlines privileges and flew standby to Milan. Upon her return, she carried the

family hamster in her flight bag and a family dog on Lufthansa Airlines. On or about

January 12, 2012, Giorgio flew to the US and joined the family in Beloit for Julia’s 8th

birthday party. When he came to the US, Giorgio flew on Lufthansa airlines as well to

allow him to bring another pet, Dotty the cat, which has had significant health issues, to

live with Julia.

       On or about March 30, 2012, Robin and Julia returned to Milan for Easter break

utilizing the return portion of their Swiss Air ticket from their December departure. After

spending the week in Europe, with Julia taking a skiing trip to Switzerland with her

father, Robin and Julia returned to the US utilizing Robin’s American Airline benefits

and without any return tickets or plans. The reason there were no return travel plans is

because the parties had previously agreed that they would move to the US to pursue more

lucrative employment opportunities.

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       On Friday, April 13, 2012, while Robin was working an international flight,

Giorgio informed her on the telephone that he no longer wanted to be married to her.

This came as a complete shock and surprise to Robin. After working her return leg to

Chicago, she immediately turned around and flew back to Milan on April 16th to see

Giorgio and ask him to go to counseling and attempt to save their marriage and family.

He has consistently refused her offers to do so.

       In June, Giorgio came to the US to attend his sister’s wedding in Washington,

D.C. Robin took Julia to O’Hare and met Giorgio so he could take Julia to the wedding.

Giorgio and Julia traveled to and from Washington on Robin’s American Airline

privileges. Perhaps the most telling piece of evidence as to the parties joint decision for

Julia to relocate to the US is an e-mail exchange and accompanying purchase of an airline

ticket for Julia to travel to Milan on or about Saturday July 14, 2012, with a return date of

Saturday August 4, 2012, to Chicago. The evidence will show that Giorgio initially

inquired to make this booking and complained to Robin that the cost was $2,800 and that

seemed “steep”. Robin then made the booking with her discount at $2,275. If Giorgio is

to be believed that he “intended” for Julia to be back in Milan to begin the school year at

the end of August/early September, why would he be booking a three week vacation in

July-August with Julia returning to the US in August? This ticket is good for one year,

and the trip was cancelled at Julia’s request because Dotty had kidney failure and she did

not want to be away from her favorite pet for such a long period of time. The evidence

will show Giorgio acknowledged Julia’s concern in a July 10, 2012 e-mail and agreed to

reschedule the trip “somerhing different some other time.” (sic)

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       The Petitioner has never clearly communicated any desire for Julia to be returned

or made any plans for her to return and to live in Milan. It appears that he filed this

action in retaliation for Robin’s difficult decision to file for the termination of the

marriage in light of Giorgio’s unilateral announcement that he no longer wanted to be

married to her.

              2.     There Was No “Wrongful Removal Or Retention” Under
                     The Hague Convention To Trigger The Enforcement
                     Provisions of 42 U.S.C. §11601 Et. Seq. (ICARA)

42 U.S.C. §11603 “Judicial remedies” provides at (e) (2) (B):
       (2) in the case of an action for the return of a child, a respondent who opposes the
       return of the child has the burden of establishing- -
       …
               (B) by a preponderance of the evidence that any other exception set forth
               in article 12 or 13 of the Convention applies. (emphasis added)

       It is important to note that the burden of proof on the Respondent is less than the

“clear and convincing” standard required to show that the return would expose the child

to a grave risk of harm under Article 13 b) of the Convention or a violation of the

fundamental principles relating to human rights and fundamental freedoms under Article

20.

       Article 13 of the Hague Convention provides:

       Notwithstanding the provisions of the preceding Article, the judicial or
       administrative authority of the requested State is not bound to order the
       return of the child if the person, institution or other body which opposes its
       return establishes that-
       a) the person, institution or other body having the care of the person of the
       child was not actually exercising the custody rights at the time of removal
       or retention, or had consented to or subsequently acquiesced in the
       removal or retention; or…(emphasis added.)


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       The facts establish that the parties shared a mutual intent to permanently relocate

to the United States when Robin and Julia left Milan in December of 2011. They rented

out the marital home for a term of four to eight years, wrote Julia’s school advising she

would not be returning after December 21, 2011, and made several trips to relocate the

family pets. Our Seventh Circuit adopted the analysis set forth by the Ninth Circuit in the

seminal case of Mozes v Mozes, 239 F. 3d 1067 (9th Cir. 2001) in its decision in Koch v.

Koch 450 F. 3d 703 (7th Cir. 2006). As Petitioner’s Brief points out, the test is in

determining a child’s habitual residence is:

       Following Mozes, most of our sister circuits focused on the parents' last
       shared intent in determining habitual residence. See, e.g., Gitter, 396
       F.3d at 131-33 (finding the Mozes opinion “particularly instructive” in
       determining habitual residence by considering the intentions of the parents
       as of the last time their intentions were shared); Ruiz, 392 F.3d at 1252-55

       Koch at 715. (emphasis added.)

       Keeping in mind the axiom that “actions speak louder than words, the Court in

Koch went on to point out that “In determining the parents' intent, the court should look

at actions as well as declarations. Gitter, 396 F.3d at 134.” Koch 715. (emphasis

added.) This Court is faced with determining the intent of the parties based on all of their

actions and the Petitioner’s repeated behavior in confirming the joint decision to relocate

to the United States. Here, the problem is that foreshadowed by the Court in Koch:

       Often, by the time one parent has filed an action under the Convention for
       the return of a child, the parents no longer share an intent on the child's
       habitual residence. Because of this complication, the Mozes court
       acknowledged that the representations of the parties likely cannot be
       accepted at face value, and the court should determine “from all available
       evidence whether the parent petitioning for return of a child has already


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       agreed to the child's taking up habitual residence where it is.” 239 F.3d at
       1076.

       Koch, at 713.

       Respondent will prove by a preponderance of the evidence that Petitioner has

agreed to Julia’s relocation to the United States and acquiesced in that agreement for

eight months. It is only now, when Robin has filed for divorce in the US that he is for the

first time demanding Julia’s return and misrepresenting to this Court the parties’ agreed

intent at the time the family left Italy. He may have changed his mind, but that does not

result in a change in the original intent of the parties, nor does it give rise to a cause of

action under ICARA, this is simply a case of “buyer’s remorse”.

       Perhaps the most telling e-mail exchange confirming Giorgio’s intent is that from

January 7, 2012, when Julia and Robin have already moved to the US. He inquires as to

whether they could arrange for him to take Julia on a ski trip to Vail sometime in March.

In discussing his return leg, he proposes that Robin book it “for the end of August when it

is hard to return.” The parties utilize paid tickets when travel is busy and there is a low

probability of being able to secure a seat on Robin’s American Airline’s stand by basis.

This exchange never mentions Julia or Robin’s return at the end of August or at any time

because the parties never intended for Julia or Robin to be returning to Milan to live in

August or at any point in the foreseeable future. They intended to relocate and establish

their habitual residence here in the US and did so.




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              3.     The United States Is Now The Habitual Residence Of The
                     Minor Child.

       Mozes sets forth a two-step analysis in determining a child’s “habitual residence”.

The first test involves the inquiry as to whether or not the parents demonstrated an intent

to abandon the prior habitual residence. Id at 1075. All of the evidence as recited above

confirms the parties to this action made a joint decision to move their residence to the

US. The second step of the analysis inquires as to whether there has been a change in

geography for an appreciable period of time so that the child has become settled or

“acclimatized”. Id at 1078.

       The intent of the parties has been clearly demonstrated by their actions and e-

mails. Julia has completed one term at Townville Elementary School where she has

excelled in all areas and connected with a new group of friends and become involved in

regular activities including swimming. Her school guidance counselor will testify she is

happy, outgoing, makes friends easily and is well settled in her new school. Julia has

regular horseback riding lessons where she also attends camp in the summer. She is

currently precluded from participating in her horseback riding as her coach’s facility is

located one mile over the Illinois border. This activity is Julia’s first love; she has a great

passion for animals as demonstrated by her devotion to her pets. She also lives with her

maternal grandparents and is socially active with her peers. Julia has become well settled

in her school and home here in Wisconsin over the course of the last nearly nine months.

       Most of the cases wherein a court has found a lack of change in habitual residence

involve situations where one parent has surreptitiously removed a child or children. This


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case is entirely different and the child is here with the full consent and acquiescence of

both parties.

                4.   Petitioner Has Not Been Denied Any Access To The
                     Minor Child Nor Have Her Whereabouts Been Concealed
                     At Any Time.

       The e-mails and visits between the parties will show the respondent has never

concealed Julia from her father or attempted to interfere with his communication or

access to her. In fact the e-mail pattern will show the respondent suggested they obtain a

phone for Julia to have it available in order to receive calls from Giorgio when she is

travelling for her job. The evidence will show Robin pleaded with Giorgio to contact

their daughter and his reticence to do so as he expressed, he does “not know what to say

to her”.

                5.   Respondent Has Clearly Demonstrated There Is No Risk
                     Of Her Removing The Minor Child.

       Respondent has been more than transparent in her movements with Julia. The e-

mails will establish she kept Giorgio informed of their trip to Arizona to a ranch that

Giorgio approved of and contributed toward Julia’s tuition. The evidence will further

show that when Robin wanted to take Julia to Colorado for a trip in August, she

voluntarily sought and obtained permission from the Illinois Court handling the marital

dissolution action and posted $750 bond before she undertook the trip. Petitioner simply

cannot demonstrate any risk of removal or concealment of Julia which would give rise to

the need for any extraordinary relief. Robin has acted honorably and transparently in all

of her dealings involving the parties’ minor child, while Petitioner is being vengeful,


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dishonest and vindictive in his actions after he decided to end the marriage. He has not

contributed to Julia’s support, and his current actions have precluded Robin from

engaging in her normal course of employment because he has sworn out unfounded

criminal charges in Italy, her designated route of travel for purposes of employment and

the sole means of support for her and Julia.

   C. CONCLUSION

       Respondent respectfully requests that this Court deny Petitioner’s Motion for

Immediate return of the Minor Child this date and further dismiss his “Petition For

Return Of Child To Petitioner Under The Hague Convention On Civil Remedies For

International Child Abduction” on its merits based on its frivolous nature and award

Respondent actual attorney fees and costs in defending this action, which is without any

good faith basis in fact or law.

       Dated this 12th day of September, 2012.

                                           SIPSMA, HAHN & BROPHY, L.L.C.

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